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             United States Court of Appeals
                      FOR THE DISTRICT OF COLUMBIA CIRCUIT



            Argued November 14, 2023               Decided June 14, 2024

                                    No. 22-5328

                     ATTORNEY GENERAL OF THE UNITED STATES,
                                  APPELLANT

                                          v.

                                 STEPHEN A. WYNN,
                                     APPELLEE


                     Appeal from the United States District Court
                             for the District of Columbia
                                 (No. 1:22-cv-01372)



                Joseph P. Minta, Attorney, U.S. Department of Justice,
            argued the cause for appellant. With him on the briefs were
            Matthew G. Olsen, Assistant Attorney General for National
            Security, and Jeffrey M. Smith, Attorney.

                Robert D. Luskin argued the cause for appellee. With him
            on the brief were Reid H. Weingarten, Brian M. Heberlig,
            Bruce C. Bishop, Nicholas P. Silverman, and Leo R. Tsao.

                Before:   HENDERSON, MILLETT, and PILLARD, Circuit
            Judges.
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                Opinion for the Court filed by Circuit Judge MILLETT.

                 MILLETT, Circuit Judge: Federal law requires those
            lobbying American officials on behalf of foreign principals to
            register as foreign agents. The Department of Justice believes
            that Stephen Wynn acted as an unregistered foreign agent for
            the People’s Republic of China in mid-to-late 2017. The
            Department filed suit in federal court to force him to register.
            Because, even accepting the government’s allegations as true,
            Wynn long ago ceased acting as a foreign agent, he has no
            present obligation to register. For that reason, the district court
            properly dismissed the government’s suit for failure to state a
            claim.

                                            I

                                            A

                 The Foreign Agents Registration Act, commonly referred
            to as “FARA,” aims “to protect the national defense, internal
            security, and foreign relations of the United States[.]” Act of
            Apr. 29, 1942, Pub. L. No. 77-532, ch. 263, 56 Stat. 248, 248,
            22 U.S.C. § 611 note (Policy and Purpose of Subchapter).
            FARA does so by requiring that foreign efforts to influence
            United States policy be publicly disclosed and transparent,
            giving decision makers and the public the context needed to
            “appraise the[] statements and actions” of those acting on a
            foreign principal’s behalf. Id. at 249; see United States v.
            McGoff, 831 F.2d 1071, 1074 (D.C. Cir. 1987) (The “core
            notion” of FARA is that “government officials and the public
            generally should be able to identify those who act on behalf of
            a foreign principal.”).

                As relevant here, FARA requires any “agent of a foreign
            principal” to register with the Department of Justice. 22 U.S.C.
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            § 612(a). The Act then defines “agent of a foreign principal”
            as any person who “directly or through any other person * * *
            engages within the United States in political activities for or in
            the interests of [a] foreign principal[.]” Id. § 611(c)(1)(i). The
            definition also includes anyone who “represents the interests of
            [a] foreign principal before any agency or official of the
            Government of the United States[.]” Id. § 611(c)(1)(iv).
            “[F]oreign principal[s]” are foreign governments, persons,
            political parties, and businesses. Id. § 611(b).

                 To enforce FARA, the government may seek, and courts
            may issue, injunctions to prevent persons “from continuing to
            act as an agent of such foreign principal,” or to compel
            “compliance with any appropriate provision of [FARA],”
            including its registration requirement. 22 U.S.C. § 618(f). The
            government can also criminally prosecute willful violations of
            FARA. Id. § 618(a).

                                            B

                 The government’s complaint alleges that, in May 2017, the
            former finance chair of the Republican National Committee,
            Elliot Broidy, met with the now-former Vice Minister for
            Public Security in the People’s Republic of China Sun Lijun,
            foreign national Low Taek Jho, hip-hop artist Prakazrel
            Michel, and businessperson Nickie Lum Davis. On behalf of
            the People’s Republic of China, Sun asked the attendees to
            lobby then-President Trump and his administration to cancel a
            certain Chinese businessperson’s visa or to otherwise remove
            that person from the United States.1

            1
             This background section takes as true the facts alleged in the
            government’s complaint, as we must at the motion to dismiss stage.
            Wright v. Eugene & Agnes E. Meyer Found., 68 F.4th 612, 619 (D.C.
            Cir. 2023).
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                 The next month, Broidy enlisted casino owner and real-
            estate developer Stephen Wynn to help fulfill Sun’s request.
            Wynn agreed and, in the ensuing months, Wynn contacted
            then-President Trump and a number of Trump administration
            officials and advocated for the Chinese businessperson’s
            removal. Wynn raised the issue with administration officials
            and the former President both in person and over the telephone.
            His efforts, however, bore no fruit. In October 2017, Wynn
            informed Sun that he had pressed the issue to the best of his
            ability and that he could not help any further. The government
            does not allege that Wynn engaged in any lobbying on behalf
            of China after that date.

                 In May 2018, Wynn got a letter from the Department of
            Justice advising him to register as a foreign agent. Wynn
            refused, disputing the government’s conclusion that he was
            required to register and requesting that the Department
            reconsider its determination. For four years, Wynn exchanged
            letters with the government over the dispute. He never
            registered under FARA.

                                          C

                 In 2022, the Department of Justice sued Wynn to compel
            compliance with FARA. It asked the district court both to
            declare that he has an obligation under Section 612(a) to
            register as a foreign agent and to issue a permanent injunction
            requiring him to do so.

                 The district court dismissed the complaint for failure to
            state a claim. Attorney General of the United States v. Wynn,
            636 F. Supp. 3d 96, 101, 107 (D.D.C. 2022). The court held
            that, “[b]ecause both parties agree that any [agency]
            relationship between Wynn and the Chinese government ended
            in October 2017,” FARA no longer required him to register.
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            Id. at 101. As such, the court concluded that it could not order
            him to do so. See id. at 101, 107. In so holding, the court relied
            primarily on this court’s decision in United States v. McGoff,
            831 F.2d 1071 (D.C. Cir. 1987), in which we held that the
            Section 612(a) “obligation to file expires when the agent ceases
            activities on behalf of the foreign principal[,]” id. at 1082. See
            id. at 1096.

                                           II

                The district court had jurisdiction under 28 U.S.C. §§ 1331
            and 1345. We have jurisdiction under 28 U.S.C. § 1291.

                 We review the district court’s dismissal under Federal
            Rule of Civil Procedure 12(b)(6) de novo, accepting as true the
            government’s factual allegations and drawing all reasonable
            inferences in the government’s favor. Wright, 68 F.4th at 619.

                                           III

                                            A

                 The central question in this case is whether Wynn has a
            continuing obligation to register under FARA even if he ceased
            his representation of a foreign principal nearly seven years ago.
            Under McGoff, which binds this panel, the answer is plainly
            “no.” See New York–New York, LLC v. NLRB, 676 F.3d 193,
            194–195 (D.C. Cir. 2012) (“We are of course bound by our
            prior panel decision[.]”).

                 In McGoff, this court rejected a failure-to-register
            prosecution under FARA as outside of the general five-year
            statute of limitations for criminal prosecutions set forth in 18
            U.S.C. § 3282. See McGoff, 831 F.2d at 1071–1073. Key to
            that decision was pinpointing when the Section 612(a)
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            registration obligation ended, since that moment is when the
            statute-of-limitations clock starts to run. Id. at 1081–1082
            (“[T]he decisive question in resolving the statute of limitations
            issue * * * turns on the duration of the registration obligation
            of section 612(a).”). McGoff held that Section 612(a)’s
            registration obligation “expires” the day an individual stops
            acting as a foreign agent. Id. at 1082; see id. at 1096.

                  While this case does not implicate the statute of limitations
            for failing to register under FARA, it asks the same question
            that McGoff answered: When does an agent’s obligation to
            register under FARA “expire[]”? 831 F.2d at 1082. McGoff
            was explicit that, under Section 612, “the statutory obligation
            to file expires when the agent ceases activities on behalf of the
            foreign principal.” Id.; see id. at 1096. By the government’s
            own telling, Wynn stopped representing the People’s Republic
            of China by the end of October 2017. See App. 8–9; Wynn, 636
            F. Supp. 3d at 101 (“[B]oth parties agree that any [agency]
            relationship * * * ended in October 2017[.]”). As a result,
            under McGoff, any statutory obligation to register expired at
            that time. See McGoff, 831 F.2d at 1096.

                Because Wynn’s duty to register ended almost seven years
            ago, McGoff dictates that there is no legal basis for the
            government to compel him to register now, and the district
            court properly dismissed the case.

                                            B

                 The government argues that McGoff does not control
            because this is a civil case in which the government seeks only
            an injunction under Section 618(f). That provision authorizes
            the government to apply for an injunction:
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                                           7
                Whenever * * * any person is engaged in or about to
                engage in any acts which constitute or will constitute
                a violation of any provision of this subchapter, or
                regulations issued thereunder, or whenever any agent
                of a foreign principal fails to comply with any of the
                provisions of this subchapter or the regulations issued
                thereunder, or otherwise is in violation of the
                subchapter[.]

            22 U.S.C. § 618(f). The requested injunction may take the
            form of “an order enjoining such acts or enjoining such person
            from continuing to act as an agent * * * or [of] an order
            requiring compliance with any appropriate [FARA]
            provision[.]” Id.

                In the government’s view, Section 618(f)’s first
            “whenever” clause covers all imminent or ongoing violations
            of FARA, while its second “whenever” clause applies to past,
            completed violations of FARA. Gov’t Opening Br. 20. The
            government argues that, so read, Section 618(f)’s second
            “whenever” clause allows for an injunction to compel
            compliance for past violations. See Gov’t Opening Br. 20.

                 While the government referenced Section 618(f) in its
            district court filings, see App. 198–199, it did not advance
            below the reading of the statutory text that it presses here.
            Before the district court, the government argued that Wynn is
            liable for currently violating Section 612(a)’s “continuing duty
            to register, even if the FARA-registrable conduct has ceased.”
            App. 4; see App. 11. Before us, the government now claims
            that this suit is proper because Wynn previously violated
            Section 612(a) while acting as a foreign agent. See Gov’t
            Opening Br. 18–25.
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                  We will address this argument despite the government’s
            failure to develop it below. See Association of Am. R.R.s v.
            Department of Transp., 821 F.3d 19, 26 (D.C. Cir. 2016) (“The
            matter of what questions may be taken up and resolved for the
            first time on appeal is one left primarily to the discretion of the
            courts of appeals, to be exercised on the facts of individual
            cases.”) (quoting Singleton v. Wulff, 428 U.S. 106, 121 (1976)).
            Whether the government can sue to force foreign agents to
            register after they have stopped acting as foreign agents is a
            “novel, important, and recurring question of federal law” that
            touches on sensitive areas of national security and foreign
            policy. Liff v. Office of Inspector Gen. for Dep’t of Lab., 881
            F.3d 912, 919 (D.C. Cir. 2018) (quotation marks omitted). It
            is also a “threshold question” in FARA litigation that goes to
            “the clear inapplicability of [the] statute.” Id. And it “involves
            a straightforward legal question” that both parties have
            addressed on appeal and the answer to which is compelled by
            binding law. Id. (quotation marks omitted).

                 Turning to the merits, the government’s proffered reading
            of Section 618(f) does not hold up. On its face, Section 618(f)
            describes both when the government can sue and what it can
            ask for when it does. Both aspects of Section 618(f) foreclose
            the government’s reading.

                 Begin with when Section 618(f) authorizes suit. Under
            Section 618(f), the government can file suit for injunctive relief
            against an individual who, in the present tense, “is engaged in
            or about to engage” in violations, or who “fails to comply” with
            FARA. 22 U.S.C. § 618(f) (emphases added). It does not
            allow suit against an individual who “failed” to comply in the
            past but no longer is under a legal obligation to register.
            Congress’s use of the present tense indicates that it meant to
            refer to present and future acts, not past ones. See Carr v.
            United States, 560 U.S. 438, 447–448 (2010); see also 1 U.S.C.
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            § 1 (“In determining the meaning of any Act of Congress,
            unless the context indicates otherwise[,] * * * words used in
            the present tense include the future as well as the present[.]”).

                 Congress’s use at the end of Section 618(f) of a present-
            tense “otherwise” clause, following a list of present tense
            examples, reconfirms that the statute does not allow injunctions
            for long-ago completed violations. The word “‘[o]therwise’
            means ‘in a different way or manner[.]’” Texas Dep’t of Hous.
            & Cmty. Affs. v. Inclusive Cmtys. Proj., Inc., 576 U.S. 519, 535
            (2015) (quoting WEBSTER’S THIRD NEW INTERNATIONAL
            DICTIONARY 1598 (1971)). By specifying that courts may
            issue injunctions against someone who “otherwise is in
            violation of” FARA, the statute makes clear that the earlier
            clause (“whenever any agent of a foreign principal fails to
            comply with any of the provisions of this subchapter or the
            regulations issued thereunder”) specifies one “way or manner”
            by which a person may presently be “in violation of” FARA.
            22 U.S.C. § 618(f) (emphasis added). If the present tense of
            the “otherwise” clause were not meant to carry back to the prior
            clause, there would have been no reason to include the word
            “otherwise.” See Begay v. United States, 553 U.S. 137, 144
            (2008) (interpreting a general “otherwise” clause as being
            “similar” to examples that preceded it); id. at 151 (Scalia, J.
            concurring) (explaining that Congress can use the word
            “otherwise” to “draw[] a substantive connection between”
            specific and general sets of words).

                Read as an integrated whole, then, Section 618(f)’s
            authorization to sue for an injunction “whenever any agent of
            a foreign principal fails to comply” with FARA refers to
            ongoing or imminent compliance failures, not discontinued
            ones. 22 U.S.C. § 618(f).
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                  As for what types of injunctive relief Section 618(f)
             affords, the statutory text again undermines the government’s
             reading. Section 618(f) allows the government to apply for an
             order (1) “enjoining such [FARA-prohibited] acts[,]” (2)
             enjoining [any] person from continuing to act as an agent of [a]
             foreign principal[,]” or (3) “requiring compliance with any
             appropriate [FARA] provision[.]” 22 U.S.C. § 618(f). Each of
             those remedies addresses only ongoing or imminent FARA
             violations.

                  As such, none of the three forms of Section 618(f)
             injunctive relief applies to Wynn’s situation. Under McGoff,
             Wynn (1) is not engaged in any FARA-prohibited “acts”
             because he is not acting as a foreign agent, (2) is not
             “continuing to act as an agent of [a] foreign principal” because
             he ceased any such activity seven years ago, and (3) is in
             “compliance” with Section 612(a) because, under McGoff, he
             is under no present duty to register, as any such duty expired in
             October 2017. 22 U.S.C. § 618(f).

                  True, McGoff did not specifically address Section 618(f)
             or the registration obligation in the civil context. See 831 F.2d
             at 1094 n.32. But what matters is that McGoff recognized a
             temporal limitation on the duty to register under Section
             612(a). Whether the question arises in the criminal or civil
             context, the answer as to when the Section 612(a) duty to
             register expires must be the same in the absence of any contrary
             statutory directive. See Leocal v. Ashcroft, 543 U.S. 1, 11 n.8
             (2004) (Where a statutory provision has “both criminal and
             noncriminal applications[,] * * * we must interpret the statute
             consistently, whether we encounter its application in a criminal
             or noncriminal context[.]”). The government’s argument that
             Section 618(f) provides for such differentiation ignores that
             provision’s plain, present-tense text.
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                  The government also errs in arguing that our textual
             reading creates redundancy. See Gov’t Opening Br. 19. The
             canon against superfluity does little work here because “the
             text’s meaning is plain.” Mercy Hosp., Inc. v. Azar, 891 F.3d
             1062, 1068 (D.C. Cir. 2018). It also cannot aid the government
             in this case since the government’s alleged non-superfluous
             reading would undermine the statutory scheme as laid out in
             McGoff. Cook Inlet Tribal Council, Inc. v. Dotomain, 10 F.4th
             892, 896 (D.C. Cir. 2021); see Kimble v. Marvel Ent., LLC, 576
             U.S. 446, 456 (2015) (“All our interpretive decisions, in
             whatever way reasoned, effectively become part of the
             statutory scheme[.]”). The government’s interpretation would
             make Section 612(a)’s registration obligation perpetual, which
             is a proposition that McGoff explicitly rejected. See 831 F.2d
             at 1071, 1096. And this panel must hew to McGoff. See United
             States v. Emor, 785 F.3d 671, 682 (D.C. Cir. 2015) (“[W]e
             cannot overrule a prior panel’s decision, except via an Irons
             footnote or en banc review.”).

                                            ***

                  Under binding circuit precedent, any duty Wynn had to
             register as a foreign agent under Section 612(a) ended when his
             alleged representation of a foreign principal terminated.
             Because Section 618(f) allows civil suit to remedy only
             ongoing or imminent Section 612(a) violations, we affirm the
             district court’s dismissal.

                                                                So ordered.
